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                         UNITED STATES DISTRICT COURT
                          DISTRICT OF NEW HAMPSHIRE


JOHN DOE,                                    )
                                             )
Plaintiff,                                   )
                                             )        Civil Action No. l 9-cv-000013-JL
v.                                           )
                                             )
TRUSTEES OF DARTMOUTH                        )
COLLEGE,                                     )
                                             )
Defendant.                                    )


     MEMORANDUM OF LAW IN SUPPORT OF SALLY SMITH'S LIMITED
      MOTION TO INTERVENE TO OPPOSE JOHN DOE'S MOTION FOR
                 EXPEDITED TRIAL CONSIDERATION

        Pursuant to Federal Rule of Civil Procedure 24, interested third party, Sally Smith

("Ms. Smith"), by and through her attorneys, Brennan Lenehan and Andrus Wagstaff, PC,

respectfully offers this Memorandum of Law in Support ofher Limited Motion to Intervene

to Oppose John Doe's Motion for Expedited Trial Consideration.

as           because Ms. Smith cannot be

      11te1•est   will                                                      Fed. R. Civ. P.

                                                                                         has

a                                                or   See Fed. R. Civ. P. 24(b)(l). Trustees

of Dartmouth College ("Dartmouth") assent to this motion.

         While Doe seeks to persuade this Court to move forward in an unprecedented,

expedited manner in an to attempt protect his ability to graduate timely, he ignores entirely

the impact not only that his past actions have had on Ms. Smith, but the crippling effects

that an expedited trial would have on her education and emotional well-being. Dartmouth




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makes strong, meritorious arguments in opposition to Doe's motion, but the college is

equally unable to articulate Ms. Smith's objections and protect her interest when opposing

Doe's motion. To avoid impairing the interest of Ms. Smith and to ensure that her interests

are fully protected, Ms. Smith respectfully requests that this honorable Court grant her

Limited Motion to Intervene in this matter.

                          BACKGROUND

       On January 7, 2019, John Doe filed a Complaint (Doc. 1) against the Trnstees of

Dartmouth College alleging breach of contract, among other claims, based upon

Dartmouth's investigation and decision to expel Doe for finding Ms. Smith's allegations

that he sexually assaulted her meritorious. Throughout the Complaint, Doe criticizes and

mischaracterizes Ms. Smith's actions during the investigation, making it apparent that Doe

will seek to have Ms. Smith involved in his litigation with Dartmouth. Ms. Smith intends

to aggressively oppose any such involvement in this litigation and hereby is seeking the

opportunity to intervene to oppose to expediting Doe's case to trial.

       Without addressing the baseless allegations and misrepresentations m Doe's

Complaint at this time, it is important for the Court to have an understanding as to how any

expedited trial schedule will harm Ms. Smith. Ms. Smith is a Pre-Med, Biology major with

a minor Women's Studies. Her major and minor require her to complete a significant

number of courses on extremely challenging subjects, including Chemistry, Organic

Chemistry, multiple Biology courses and laboratories and six Women's Studies courses.

See Sally Smith's Pre-requisites attached at Exhibit A. Ms. Smith's schedule barely allows

time for her eat between classes and laboratories and her spring schedule will be the same.

See Sally Smith's Academic attached at Exhibit B. Ms. Smith has been taking 4 courses



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per quarter, where the norm is 2-3 courses, as she is working towards early graduation,

with commencement on June 9, 2019. Once Ms. Smith graduates in June, she will return

to her home out of state. Should Doe's motion be granted, it will be impossible for Ms.

Smith to graduate early and return home. 1 Leaving Hanover, NH, a place where surrounded

with the horrific memories and continued distress, is critically important to Ms. Smith and

no party to this action is able to protect her interests, warranting intervention.

         It should go without saying that Doe's lawsuit with Dartmouth, which has been

publicized in the news and the Dartmouth College newspaper, has been very distressing

and emotionally taxing on Ms. Smith. The psychological and emotional impact of re-

victimization through the legal system has long been understood and recognized in the

psychology community. 2 Denying Ms. Smith the ability to intervene and protect her

interests would exacerbate the emotional distress that she is experiencing as a direct result

of this lawsuit.


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prcmcrtv or




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1 Being unable to graduate in June, 2019 will also have significant financial impact on
Ms. Smith, as evidenced in her tuition bills and payments due to the Dartmouth, totally
nearly $18,000 per quarter. See Sally Smith's Tuition Expenses attached as Exhibit C.
2
  See e.g. Psychological Effects of Victimization: Implications for the Criminal Justice
System (1987) at https://journals.sagepub.com/doi/abs/10.1177/0011128787033004004.

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                                                                                  "1) the aPJJl11;at1on was

                   the applicant possesses a substantial                                        case;       the

applicant's                         interest               impaired without                          and 4) the

existing parties       not adequately represent the applicant's interest." Conservation

Vound. Of New England v. Mosbacher, 966                      39, 41 (Pt Cir. 1992). Smith meets each

of these requirements for intervention as ofright.


     L


         Four      factors    are     to        be       considered       in evaluating the timeliness of

an intervention motion: (1) the length of time the prospective intervenors knew or

reasonably should have known of their interest before they petitioned to intervene; (2) the

prejudice     to   existing   parties      due       to    the     intervenor's     failure     to     petition

for intervention promptly; (3) the prejudice the prospective intervenors would suffer if not

allowed to intervene; and (4) the existence of unusual circumstances militating for or

against intervention. Culbreath v. Dukakis, 630 F.2d 15, 17, 20-24 (1st Cir.1980).

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                       was necessary. M_s.                                                     be

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                               intent to                   vvhile    will op11os:e it Dartmouth

assented to   Ms.                                     request to


   2. Ms. Smith Has a Sut!Jstiulti'll Legal Interest in the Subject Matter of This
      Case.


       The First Circuit construes the term "interest" as requiring a showing of a

"significantly protectable interest" and analyzes the elements of Rule 24( a) "in keeping

with a commonsense view of the overall litigation." Students for Fair Admissions v.

President and Fellows ofHarvard College, 308 F.R.D. 39 (citing Patch, 136 F.3d at 204-

205). Ms. Smith's interest is particularly strong here because there will be an attempt to

drag her into the litigation between Doe and Dartmouth, having a significant dehimental

impact on her academics and ability to graduate early and leave Hanover, NH and all the

horrific memories behind. Commonsense would lead to the conclnsion that Ms. Smith's

interest in whether this matter proceeds on an expedited schedule is significant. Should

Doe's motion be granted without her interests being heard, it will also cause her substantial,

unwarranted, additional emotional distress. Ms. Smith has established that she has a

substantial interest in the subject matter of this case.




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v. Miller, 103 F.3d 1240. 1247 (6th        .l                                          \'


                    647 F.3d                                                          does not

require an                             a                                         The advisory

committee for        R.        P 24(a)(2) noted            an applicant          "substantially




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affected in a practical sense by the detem1ination made in an action, the applicant should

as a general rule be entitled to intervene."

                triai         disposition of this case impacts                              mlPrE"I<      on multiple

levels. Not only              it impact                             and                                it also could

impact her potential             and criminal ct<nrris available to                                  parties.

currently Ms.             only            limited intervention to oppose                             it               that

                                                                                      ad.verse rulings       findin.gs

     this matter could            an                                                   some                           See

Miller. l 03 F           at             1247-48

Ch!imber of       'nrnrnPr<'1" "rm1Prl     that

                                           the validity       Michigan's system

                                                          '"' JL"'.J"'b   intervention impairs, if not nrc"rPnts

                                                                     .. and would          harmful

                                           input,    an 1mportwrrt ... issuz.\                                   Smith's

                  be


      4. The     ~~A'"'m;.; n111rm"      '-"""""Protect
          Ms.                                                                                                    to



                                         863 (6th                  see also Daggett v. Commission on Gew

Ethics      Election Prac. ! 72 F. 3d l 04, l l 0 ( l st                  1999). A po1:e!11tial   m1<'rFc>nr<r



not                the                        1
                                       parties J                                   be

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         The existing parties cannot represent Ms. Smith's views and are not able to make

all of the arguments Ms. Smith would make upon intervention to protect her interests, as

evidence by the motion and objection filed with this Court. Neither Doe nor Dartmouth

addressed the crippling affect that granting the motion would have on Ms. Smith. Neither

addressed her academic schedule and emotional well-being. Furthennore, if this matter

proceeds with discovery to which Ms. Smith may be subject, neither party is able to

adequately represent her interests in quashing any attempt at involving her in this dispute

between Doe and the college. It is evident from the filings in this matter alone, that Doe

and Dartmouth cannot provide Ms. Smith adequate representation and that she is entitled

to intervene.


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            and nltimate outcome of              l1t1gation share a common question of fact as

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                 the              that                   rape ag11i11:c;t

           an rn<l.ei;1ende11t   investigation      sanction                                     The

same substantial interests that gave Ms. Smith a right to intervene in this case under Rule

24(a)(2) also support permissive intervention under Rule 24(b). Ms. Smith's intervention

will not delay or prejudice the adjudication of any party's rights, it will only allow her

interests to be adequately protected - intervention is proper.


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       For the foregoing reasons, Ms. Smith respectfully requests that the Court grant her

Limited Motion to Intervene.


Dated: February 19, 2019

                                            RESPECTFULLY SUBMITTED,
                                            SALLY SMITH,
                                            By Her Attorneys,


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             CERTIFICATE OF COMPLIANCE WITH LOCAL RULE 7.l


       Pursuant to civil Local Rule 7.l(c), counsel for Sally Smith conferred in good faith

with counsel for the parties to see if there was concurrence with regard to her intervening

in the instant action. Counsel for the Defendant has assented to Ms. Smith's request/motion

to intervene and Plaintiff does not assent.



                              CERTIFICATE OF SERVICE


          I certify that on February 19, 2019, I caused the foregoing document to be served

on counsel ofrecord for all parties that have appeared to date through the Court's CM/ECF

system:

 William E. Christie                              Daryl J. Lapp (admitted pro hac vice)
 S. Amy Spencer                                   Elizabeth H. Kelly (admitted pro hac viee)
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                                                  /s/ Jaye Rancourt
                                                  Jaye Rancourt




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